Case 1:19-cr-00850-JSR Document 147-6 Filed 02/17/21 Page 1 of 6




                EXHIBIT 6
       Case
       Case 1:19-cr-00850-JSR
            1:16-cr-00483-JSR Document
                              Document 147-6
                                       117 Filed
                                             Filed07/21/17
                                                   02/17/21 Page
                                                             Page1 2ofof356   1
     H6EHLUMS

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    UNITED STATES OF AMERICA,

4                 v.                                   16 Cr. 483 (JSR)

5
     STEFAN LUMIERE,
6
                                                       Sentence
7                      Defendant.

8    ------------------------------x

9                                                      New York, N.Y.
                                                       June 14, 2017
10                                                     9:40 a.m.

11
     Before:
12
                                HON. JED S. RAKOFF,
13
                                                       District Judge
14
                                     APPEARANCES
15
     JOON H. KIM
16        Acting United States Attorney for the
          Southern District of New York
17   IAN McGINLEY
     DAMIAN WILLIAMS
18        Assistant United States Attorney

19   JONATHAN HALPERN
     JONATHAN FRIEDMAN
20        Attorneys for Defendant

21

22

23

24

25


                       SOUTHERN DISTRICT REPORTERS, P.C.
                                 (212) 805-0300
       Case
       Case 1:19-cr-00850-JSR
            1:16-cr-00483-JSR Document
                              Document 147-6
                                       117 Filed
                                             Filed07/21/17
                                                   02/17/21 Page
                                                             Page2 3ofof356    2
     H6EHLUMS

1               (Case called)

2               THE COURT:     Good morning.      All right.     So the parties

3    have stipulated to a gain amount.          This is a stipulation "for

4    sentencing purposes only," whatever that may mean.               That a

5    reasonable estimate of the gains resulting from the fraud is

6    between 1.5 million and 3.1 million.           I've reviewed that

7    calculation and the basis for it.          I find that it is a

8    reasonable calculation.        The government also still asserts the

9    possibility of a loss, a larger loss calculation.              I've

10   reviewed that calculation, and I don't find it sufficiently

11   adequately supported to adopt.          So I will adopt the gain

12   calculation, which means that to the base offense level of

13   seven, there is added an enhancement of 16 points.               The parties

14   still disagree as to the other enhancements, the two-point

15   enhancement for ten or more victims and the four-point

16   enhancement for associations with an investment adviser.

17              I'm persuaded by the government's arguments, and so I

18   will add those two enhancements for a total offense level of

19   29, for a guideline range of 87 to 108 months in prison.

20   However, if I did not add those enhancements and adopted the

21   defense position, the total offense level would be 23, and the

22   guideline range would be 46 to 57 months.            Excuse me.     Sit

23   down, counsel.      And my sentence, which is going to be below

24   either of the guideline ranges, would be exactly the same

25   whether those enhancements were added or not.             They are totally


                       SOUTHERN DISTRICT REPORTERS, P.C.
                                 (212) 805-0300
       Case
       Case 1:16-cr-00483-JSR
            1:19-cr-00850-JSR Document
                              Document 117
                                       147-6Filed
                                               Filed
                                                   07/21/17
                                                     02/17/21Page
                                                               Page
                                                                  154ofof35
                                                                          6   15
     H6EHLUMS

1               THE COURT:     Well, the main issue in white-collar cases

2    is often general deterrence, and there is a body of literature

3    largely ignored by the sentencing commission but which suggests

4    that, on the one hand, heavy sentences do not serve added

5    deterrent effect in white-collar cases, but that, on the other

6    hand, some meaningful prison time does serve a major deterring

7    effect in white-collar cases because it sends the message to

8    others similarly situated that you can't buy your way out of

9    this.

10              MR. HALPERN:     I understand that's a factor.

11   Certainly, that's to be considered, along with the seriousness

12   of the offense and other objectives.           Under these really

13   extraordinary circumstances for Mr. Lumiere personally,

14   individually, those other factors that make some reference to

15   that, when your Honor considers that, whatever punishment your

16   Honor imposes is going to be disproportionately harsh because

17   of the circumstances Mr. Lumiere finds himself in as outlined

18   in the PSR, including paragraphs 119 and 120.

19              THE COURT:     Based on my own assessment of some of the

20   materials you presented in that regard, I think one could

21   quibble here or there.       I essentially accept the basic picture

22   that's been portrayed there.         So I don't think we need to get

23   into that in great detail, unless you want to.             So I understand

24   the argument that you're making there.

25              MR. HALPERN:     I would just say he is, because of those


                       SOUTHERN DISTRICT REPORTERS, P.C.
                                 (212) 805-0300
       Case
       Case 1:16-cr-00483-JSR
            1:19-cr-00850-JSR Document
                              Document 117
                                       147-6Filed
                                               Filed
                                                   07/21/17
                                                     02/17/21Page
                                                               Page
                                                                  315ofof35
                                                                          6   31
     H6EHLUMS

1    will be suspended based on the Court's determination that he

2    poses a low risk of future substance abuse.

3               There will also be imposed the standard conditions of

4    supervision 1 through 13.        They appear on the face of the

5    judgment and will be gone over with the defendant by the

6    probation officer when he reports to begin his period of

7    supervised release, which he must do within 72 hours of his

8    release from prison, and he will be supervised by the district

9    of his residence.      There are other special conditions

10   recommended by the probation office, but I don't think they're

11   necessary.    Finally, there's a special assessment of $300 which

12   is mandatory and must be paid.

13              Now, before I advise the defendant of his right of

14   appeal, anything else that counsel wants to raise for the

15   Court?   First, anything from the government?

16              MR. McGINLEY:     No, your Honor.

17              THE COURT:     Anything from the defense?

18              MR. HALPERN:     I'm sorry, your Honor, respectfully, if

19   I just may be heard with respect to restitution, and I

20   apologize to your Honor if I misheard.           I had thought your

21   Honor was saying earlier in response to my inquiry there was

22   going to be zero restitution.         It's also, I would respectfully

23   submit, not applicable here because of gain and not actual loss

24   and identifiable victims.        So --

25              THE COURT:     No, that's not a frivolous position.


                       SOUTHERN DISTRICT REPORTERS, P.C.
                                 (212) 805-0300
       Case
       Case 1:16-cr-00483-JSR
            1:19-cr-00850-JSR Document
                              Document 117
                                       147-6Filed
                                               Filed
                                                   07/21/17
                                                     02/17/21Page
                                                               Page
                                                                  326ofof35
                                                                          6        32
     H6EHLUMS

1    What's the government's position?

2               MR. McGINLEY:     Your Honor, I think, just to be safe,

3    the government would forgo the restitution.

4               THE COURT:     So no --

5               MR. McGINLEY:     If I just --

6               THE COURT:     Not impose the restitution.

7               MR. McGINLEY:     And if I just may, just for the record,

8    because sometimes these proceedings wind up in other

9    proceedings, the government does not concede that there was no

10   actual loss to these victims, but it has not been finally

11   determined.

12              THE COURT:     The government's position, as was very

13   eloquently put forth in its many submissions, was that there

14   was huge loss, but I have not been persuaded that the

15   methodology is sufficiently accurate to permit that

16   calculation, but the government fully maintains its rights.

17   And with respect to forfeiture, I understand the government, if

18   not in this case but certainly in some cases, is going to try

19   to narrow Honeycutt, and all your rights are preserved.                  So

20   we'll just leave it with the fine so far as the financial

21   aspects of this sentence are concerned.

22              Anything else?

23              MR. HALPERN:     Yes, your Honor, if I may, two things --

24   three things.     First thing, if I may, in terms of reporting

25   recommendation, if I could request your Honor, understanding


                       SOUTHERN DISTRICT REPORTERS, P.C.
                                 (212) 805-0300
